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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *

          V.                                  *       CRIMINAL NO. ELH-19-0286

DEMETRIO McCULLOUGH                                           *

                                MEMORANDUM AND ORDER


          Currently pending are Defendant's Motion to Reconsider Pretrial Detention (ECF

No. 416) (“Motion”) and Government’s Opposition to Motion to Reconsider Pretrial Detention

(ECF No. 417) (“Opposition”). For the reasons stated below, the Motion (ECF No. 416) is

denied.

          A detention hearing was held in this case on September 18, 2019. After both parties

were fully heard, I detailed my reasons for issuing a detention order on the record at the

hearing. I issued an Order of Detention summarizing those reasons (ECF No. 305). Pursuant to

18 U.S.C. § 3142(f), a detention hearing may be reopened if the "judicial officer finds that

information exists that was not known to the movant at the time of the [detention] hearing and

that has a material bearing on the issue whether there are conditions of release that will

reasonably assure the appearance of such person as required and the safety of any other person

and the community." Defendant argues that the COVID-19 Virus Pandemic constitutes changed

circumstances warranting the defendant’s release, particularly in light of the fact that he suffers

from asthma. Defendant argues that the COVID-19 risk is more pronounced at Correctional

Treatment Facility, Washington, D.C. (“CTF”) where he is being detained, as there are

confirmed cases of COVID-19. (ECF No. 416 at 2). Although the court agrees that the

COVID-19 pandemic is a changed circumstance warranting reconsideration of defendant’s
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detention, the court does not conclude that this information warrants a reopening of the detention

hearing in this case.

       The Court “recognize[s] the unprecedented magnitude of the COVID-19

pandemic.” United States v. Martin, Crim. No. PWG-19-140-13, ECF No. 209 at 4 (D. Md.

Mar. 17, 2020). “Virtually every sector of public life has been affected, . . . [and] [e]xperts tell

us that the rate of infections has yet to peak in the United States.” See United States v. Williams,

Crim. No. PWG-13-544, ECF No. 94 at 3 (D. Md. Mar. 24, 2020). Further, as defendant notes,

there are now confirmed cases of COVID-19 at CTF. Notwithstanding these circumstances,

however, the decision whether to release an individual pending trial still requires an

individualized assessment of the factors identified in the Bail Reform Act, 18 U.S.C. § 3142(g).

In that regard, I have reviewed the bases for my detention order, and I have reweighed the factors

under the Bail Reform Act in light of the current public health emergency and defendant’s health

condition. The record in this case regarding the offenses charged and the defendant’s

background compel me to conclude that conditions of release cannot be fashioned to address

community safety, notwithstanding the potential risk of exposure to the virus that the defendant

faces while detained.

       The court fully analyzed the § 3142 (g) factors at defendant’s detention hearing. As

noted in the court’s detention order, and detailed on the record at the hearing both by the

government and the court, an analysis of these factors overwhelmingly supported a finding that

detention was appropriate. The nature of the charges are serious -- the defendant is charged

along with 24 other defendants in a wiretap drug conspiracy involving the distribution of

substantial amounts of narcotics to include heroin, fentanyl, and crack cocaine. The defendant

was identified during the course of the investigation as having a significant role as a middleman



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who coordinated drug deals and was actively involved in the conspiracy. The weight of the

evidence is overwhelming and is supported by wiretap evidence, physical surveillance, and

search warrants conducted at multiple locations. Notably, a search warrant executed at an

address alleged to be the defendant’s residence yielded heroin, cocaine and cocaine base, and

ammunition. The history and characteristics of the defendant also supported the detention

order. The defendant has a significant criminal record to include multiple convictions for

Possession with Intent to Distribute Narcotics and a firearm conviction. The defendant has a

history of non-compliance with community supervision to include VOPs and a history of

continued criminal activity while under community supervision. Further, the defendant has a

history of protective orders and an outstanding arrest warrant for assault. (ECF Nos. 305, 417

at 5-7).

           Defendant had not offered any material basis upon which to reconsider the order of

detention. While the court is concerned for the defendant, and for all others both inside and

outside of the detention facility, these concerns do not constitute a basis upon which to release an

individual who this Court has determined poses a threat to the safety of the community. As to

procedures in place at CTF, the government has proffered that the correctional and medical staff

within the Department of Corrections (“DOC”) are implementing comprehensive precautionary

and monitoring practices to protect detainees from exposure to the COVID-19 . (ECF No. 417 at

8-10). The defendant’s motion does not challenge these procedures or allege that these practices

are insufficient to address the needs of detainees. Moreover, defendant’s alleged asthmatic

condition does not change the court’s analysis. As noted in the government’s Opposition, this

Court has recently denied motions for release where detainees have claimed that they had

medical conditions, including asthma, that made them uniquely vulnerable to COVID-19. (ECF



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No. 417 at 12-13) (citing authority). Defendant has not made any specific argument, let alone

factual proffer, as to why his medical needs will not be met while he is detained.

       In conclusion, defendant has not presented any new information that has a material

bearing on the issue of detention that would warrant the reopening of the detention hearing or

that would cause me to reconsider my Order of Detention in accordance with 18 U.S.C. §

3142(f).

           Accordingly, Defendant's Motion (ECF No. 416) is denied.




Date:__4/9/20_____                           _____/s/__________________________________
                                             Beth P. Gesner
                                             Chief United States Magistrate Judge




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